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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               EASTERN DIVISION



SHARON SMITH                                                                    PETITIONER

V.                                                                     NO. 1:06CR074-WAP

UNITED STATES OF AMERICA                                                      RESPONDENT



                                    FINAL JUDGMENT
      In accordance with the opinion issued this day,

      1.     The Petitioner's Motion for Restitution Relief (docket entry 264) is hereby DENIED;

             and

      2.     this matter is CLOSED.

      IT IS SO ORDERED.

      THIS the 21st day of July, 2009.


                                                          /s/ W. Allen Pepper, Jr.
                                                          W. ALLEN PEPPER, JR.
                                                          UNITED STATES DISTRICT JUDGE
